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                                  AFFIDAVIT OF SERVICE



STATE OF NEW YORK                    )
                                     : ss.:
COUNTY OF NEW YORK                   )

               MATTHEW M. FINNEGAN, being duly sworn, deposes and says:

               1.      I am over 18 years of age, not a party to this action, and am employed by
the law firm of Patterson Belknap Webb & Tyler LLP, located at 1133 Avenue ofthe Americas,
New York, NY 10036.

               2.      On October 1, 2010, I electronically filed the foregoing The Johnson &
Johnson Defendants' Motion Challenging Plaintiffs' Proposed Class Representative with
the Clerk of the Court using the CM/ECF system, which sent notification of such filing to all
counsel of record.




Sworn to before me this 1st
day of October, 2010




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